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PRELIMINARY EXPERT REPORT OF DENNIS DEBBAUDT
Donna Lou and Daren Parsa v. Sheriff Joseph Lopinto, et. al
Eastern District of Louisiana - Case No. 2:21-00080

Introduction

I have been retained by the Plaintiffs to review an incident which occurred
on January 19, 2020, involving members of the JPSO and EP: who was 16
years old and severely autistic, which resulted in Ei © death. I have been
requested to provide my opinions with respect to JPSO policies and training
provided to deputies of the JPSO with respect to dealing with persons with autism
and provide an estimate of the costs to provide autism training to the JPSO. The
opinions I express herein are based on my years of experience, study and training
of law enforcement officers and departments with respect to law enforcement
interactions involving autistic persons as described below.

In formulating my opinions, I have reviewed and relied upon:

1) Video Tape taken by a civilian in the parking lot at laser tag;

2) Video Tape of news story on events;

3) Security videos taken from Laser Tag;

4) Depositions of the corporate representatives of JPSO (Voltolino and

Lopinto) with respect to ADA/RA and policies, practices and customs

of JPSO with respect to ADA and Intellectual Disabilities including
Exhibits;

5) Deposition of Sheriff Lopinto, individually;

6) Autism Awareness PowerPoint created in 2018 for CIT training
which was not utilized by the JPSO as of the date of Sgt. Voltolino
deposition (8/1/22);

7) JPSO CIT training materials — including PowerPoints — !
a) Substance Abuse and Mental IIIness;
b) Louisiana Mental Health Law and Patrol;
c) Crisis Intervention Training; and
d) Deescalation with Suicidal Patients;

8) Defendants’ Discovery responses regarding ADA compliance and

accommodations;

9) Complaint

10) JPCO Autopsy Report re E:' P

| | am aware that a training session believed to be entitled “Deescalation and Autism,” by JPSO
Sgt. Voltolino and Chantrel Hunt from the Jefferson Parish Coroner's Office (JPSO) is referenced
in the deposition of Sgt. Voltolino but am informed that no documentation of that course or its
contents has been produced by the Defendants and therefore has not been reviewed for this report.
Upon receipt of any documentation of such a course, I reserve the right to amend this report as
may be appropriate and as any further information is provided.

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11) Communications with Donna Lou & Daren Parsa;
12) Discussion with an official from the JPSO, believed to be Jim Arey,
after a training session I conducted after the death of EP

I have not provided expert witness testimony by deposition or trial in the
last four years. I am being compensated for my time preparing this report at the
hourly rate of $125.00.

EXPERIENCE, BIOGRAPHY & PUBLICATIONS

Over the last thirty vears. E have been deeply involved with research,
writing. producing, speaking, consulting. curriculum development and training on
the subject of law enforcement encounters with persons with autism.

In 1987 my son was diagnosed with autism. As the parent of an autistic
child and a working journalist, I did extensive research from LO9T-1993 on
interactions between autistic people and the police.

I first reported on police related autism issues with the article/booklet titled
Avoiding Unfortunate Situations in 1993 published by the Wayne County.
Michigan chapter of The Autism Society. Since then I have continued to read.
study. research, participate in discussions, conferences and meetings, consult with
experts and families with loved ones with autism, as well as those with ASD,
compile information and data, writefco-write articles, produce videos. speak.
prepare curriculums and teach others about what I have learned about autism
and in particular the interaction of law enforcement with persons with autism.

My experience in autism and law enforcement curriculum development
includes serving as a Curriculum Review Team member and resource for the first
ever autism curriculum developed for law enforcement. Why Law Enforcemeit
Needs To Recognize Autism, developed by the Maryland Police and Correctional
Training Commissions in Oct., 1999.

In April. 2001 I co-authored the article Contact with Individuals with
Autism: Effective Resolutions published by the U.S. Department of Justice in the
FBI Law Enforcement Bulletin. This is acknowledged as the first ever report
published in a law enforcement publication on the interactions between autistic
persons and law enforeement.

1 have been credited as a vesource for the Pennsylvania POST Field Guide:
Police Response to People with Mental Illness or Developmental Disability, by the
Municipal Police Officers’ Education and Training Commission. 2001. I have
successfully completed the Emergency Psychology Technician program entitled
Managing Situations Involving Mentally Disturbed Persons: A Police Training

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Program offered by John Jay College of Criminal Justice im 2005. I served as a
consultant to the Chicago Police Department's autism training module in 2007
and as a Subject Matter Export (SMI) for California POST’s 2009 training video
on autism. I also developed and updated the Autism Trainer's Guide for NYPD
from 2008 through 2018. I have served as a Subject Matter Expert (SME) and
training video -contributor for the Florida Department of Law Enforéement’s
cwriculum Autism Awareness for Law Enforcement in 2017 and the online FDLE
Autism Awareness Training for $11 Telecommunicators in 2022.

I have been acknowledged by the International Association of Chiefs of
Police (LACP) for’ my contributions to IACP Traming Keys #678. Autism:
Managing Police Field Contacts ©2012 and #679 Autism: Interview and
Interrogation © 2013. [ have also been acknowledged and cited in the [ACP Law
Enforcement Policy Center's report Interaction with Individuals with Intellectual
and Developmental Disabilities: Model Policy Concepts & Issues Paper Need fo
Know (Updated: August 2017)

My training, curriculum, DVDs and other resources have been adopted and
used by policing and public safety professionals and agencies throughout the U.5..
Canada. the UK. New Zealand. Iceland and Australia.

1 have consulted with and trained numerous law enforcement agencies and
institutions, including the FBI, Department of Homeland Security Federal Law
Enforcement Training Center, NYPD, Chicago PD, Houston PD, Illinois Attorney
General. Prosecutor's Association of New Jersey, Lowa State Sheriffs’ and
Deputies’ Association, Ontario Association of Chiefs of Police (Canada), Police
Service of Northern Ireland (Belfast) and many other local and state Jaw
enforcement agencies.

IT have presented the closing session for the 2018 class of the FBI's National
Executive Institute for chief executives of top-level law enforcement agencies in
the U.S., Canada, Australia and Europe. I also presented a keynote address for
Arkansas Attorney General Leslie Rutledge at the 2018 Arkansas Law
Enforcement Summit and virtual training for the FBI's Child Abduction Rapid
Deployment program.

I have presented training sessions for college and university police
departments, including the SUNY Police Chiefs of Police conference. Florida
Atlantic University, Florida International University Police Department, Ohio
University Police Department, University of Oregon Police Department,
University of California-Berkeley Police Department and Texas State University
Police Department among others.
Since 1998, I have authored or co-authored over 40 autism and law
enforcement related articles, books and videos, including the hook Autism,
Advocaies, and Law Enforcement Professionals: Recognizing and Reducing Risk
Situations for People with Autism Spectrum. Disorder, Jessica Kingsley Publishers.
(2001) and Contact with Individuals with Autism: Effective Resolutions for the FBI
Law Enforcement Bulictin (Vol. 70, Issue 4. April 2001) and Beyond’ Guilt or
Innocence for the Eunice Kennedy Shriver Center at the University of
Massachusetts (2004). I have also published articles in the newsletters of the
Autism Society of America, Autism Europe, Organization for Autism Research and
other autism related publications.

My training course and materials have been approved for credit units
over 20 states in the U.S., including Louisiana. I have conducted training sessions
for a number of law enforcement agencies and officers in Louisiana, sponsored by
various Autism organizations and other non-profits. The agencies and officers in
Louisiana include Calcasieu Parish Sheriffs Office. Baton Rouge area SWAT team
and others. At the invitation of Fort Polk Police Department in 2020. I trained
officers. including military police, at Fort Polk facilities, Leesville, La. I also
presented training in 2020 for the Carenero Police Department in Acadiana, which
wae attended by law enforcement officers from other departments in Louisiana.

As part of my work on this topic, 1 provide referenced, detailed, easy-to-read
handouts that can be modified for a 10-to-20-minute roll call briefing sessions or
two, three and four hour sessions. I have also written the scripts for a number of
law enforcement training video scenarios that illustrate the various types of
encounters by law enforcement with individuals with autism. These include the
highest risk encounters as well as strategies designed to lower visk when police
officers and first responders interact with autistic persons, These videos also
educate law enforcement officers to recognize autism related behaviors and
characteristics and utilize appropriate approaches and tactics. My website
autismriskmanagement.com has more information about my work and experience
in this area.

Working through Debbaudt Legacy Productions, LLC, I have produced up-
to-date, copyright protected and licensed autism and law enforcement training
curriculum objectives. course outlines. and learning outcomes with video
illustrations. See Debbaudt Legacy Productions, LLC.: autisra and law
enforcement video production team. I have been a consultant to ABC News 20/20
for a 1999 segment on autism and false confession and have been featured in
reports by numerous print and television outlets in the U.S. and Europe, including
the NYTimes, Associated Press, Dallas Morning News, Houston Chronicle. Times
Picayune, People Magazine, WIRED Magazine, and HBO.

I have also served on the Parent Advisory Committee for the Detroit Public
Schools Office of Specialized Student Services 1995-2001, the Board of Directors of
Autism Society chapters in Michigan (1989-2000) and Florida (2002-2005), the
constituency boards of the Centers for Autism and Related Disabilities at the
University of South Florida 2002-03 and the Florida Atlantic University
2004-2011. I received an award for my advocacy on behalf of childven with
disabilities and special needs from Detroit Public Schools on June 21, 2001 and
was honored by the Autism Society of America as a Champion of Safety
Edueation, Training and Awareness at the Evening of Champions Gala.
Providence. Rhode Island on July 14. 2006.

{ have also consulted with various state and federal legislators about state
and federal laws regarding training requirements for law enforcement agencies
and officers and encounters with persons with autism. | testified about autisin
related contacts with police and the criminal justice system in 2009 before a
working group of North Carolina state legislators who subsequently authorized
production of the 2009 video Autism in the Criminal Justice System. 1 produced
that video and was a co-writer of a companion report that year published in the
North Carolina State Bar Association journal.

As a presenter, trainer and public speaker. J am well known for my ability
to connect with diverse audiences. and my clear. concise and detailed handouts.
creative and effective video illustrations and insight and experience with this
subject matter.

1am retired from a 37-year career as a licensed private investigator. Tam
the proud father of a young man with autism. I veside in Port Saint Lucie, Florida.
with my wife, Gay, and son, Brad.

FACTS ABOUT AUTISM

There is a large body of literature, documentation ‘and public source
material regarding autism available to interested persons. This includes official
government sources, as well as publications by a wide range of organizations and
advocacy groups which regularly provide information about autism. In forming my
opinions regarding Sheriff Lopinto, the JPSO and the encounter between JPSO
deputies and E:” P I have relied upon my knowledge and experience
gathered over the past three decades, as well as my experience as a parent of an
autistic child and those of other parents, caregivers and family members with
autistic children, a number of whom are law enforcement officers. Among the well-
established facts regarding autism are the following:

Autism spectrum disorder (ASD) is a neurological and developmental
disorder that affects how people interact with others, communicate, learn, and

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behave. Although autism can be diagnosed at any age, it is described as a
“developmental disorder” because symptoms generally appear in the first two
years of life. According to the Diagnostic and Statistical Manual of Mental
Disorders (DSM-5), a guide created by the American Psychiatric Association that
health care providers use to diagnose mental disorders, people with ASD often
have: .

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Difficulty with communication and interaction with other people

Restricted interests and repetitive behaviors

Symptoms that affect their ability to function in school, work, and other
areas of life

Autism is known as a “spectrum” disorder because there is wide variation in
the type and severity of symptoms people experience. People of all genders, races,
ethnicities. and economic backgrounds can be diagnosed with ASD. Although ASD
can be a lifelong disorder, treatments and services can improve a person's
symptoms and daily living skills. The American Academy of Pediatrics
recommends that all children receive screening for autism. Parents and caregivers
are encouraged to talk to their child's health care provider about ASD screening
or evaluation.

According to the Center for Disease Control (CDC), about 1 in 44 children in
the U.S. has been identified with Autism Spectrum Disorder (ASD).2 The CDC
also estimates that 1-2% of the U.S. adult population is autistic. Based on these
statistics, it is estimated that there are thousands of children and adults in the
Greater New Orleans Metropolitan Area who have ASD. The percentage of the
population with identified ASD in the Greater New Orleans Metropolitan Area
and the State of Louisiana, is significant and rapidly growing as access to medical
care, attention to early childhood development, and proper diagnosis increases.

The causes of autism are not known. And while every individual is unique,
what is known is that: (a) 20-30% of people with this diagnosis are on the severe
end of the spectrum (b) boys outnumber girls 4-1 (c) 30% or more of adolescents
with autism are obese or overweight’ (d) about 40% of people with ASD also have
Intellectual Disabilities (ID) (e) up to 40% are prone to seizures and (5) autism
occurs across all races, ethnic groups, income and education levels, and lifestyles.

2 https://www.cdc.gov/ncbddd/autism/data.htm]

3 A number of medications commonly prescribed for young people with ASD have side effects of weight gain. In
addition, related physical disabilities, reduced access to participation in sports, using food as a soothing device,
and other factors contribute to the high incidence of obesity in this age-group. The American Academy of
Pediatrics recently reported that there are over 14.4 million children and adolescents in the U.S. who are obese,
“making it one of the most common pediatric chronic diseases in the U.S.” In addition, Louisiana has one of the
highest rates of childhood obesity in the country. In the 2016-17 National Survey of Children’s Health, 19.1
percent of Louisiana children ages 10 to 17 were obese, much higher than the national average of 15.8 percent.

A significant number of persons diagnosed with ASD are also known to
have (a) low muscle tone, making them potentially more susceptible to injury or
positional/compressional asphyxia related to prone restraint, (b) hypermobility or
hyperextension, i.e., “double-jointed”, (c) impairment of receptive and expressive
language, sometimes severe, so that they may be non-verbal or have limited
verbal skills and difficulty expressing their needs and/or being understood (d) co-
disabilities such as intellectual and physical disabilities (e) respiratory issues such
as asthma (f) co-conditions such as depression, obsessive/compulsive disorder
(OCD), attention-deficit-hyperactivity disorder (ADHD), aggression, self-injurious
behaviors, and mood disorders and (g) are subject to sensory overload outbursts a/
k/a “outbursts” or “meltdowns” which are involuntary, automatic “reflex”
responses to stressors, which can result in self-injurious behaviors and injuries to
others, such as hitting, kicking and biting.

There is no cure for autism spectrum disorder (ASD). ASD is a life-long
disability. While a number of persons on the spectrum lead successful and
independent lives, those diagnosed as severe will need life-time care, support and
supervision of varying degrees. Under the American with Disabilities Act (ADA)
and state disability laws, all persons with autism, including those diagnosed as
severe, are entitled to access to public areas, accommodations, facilities, and
services with reasonable accommodations for any disability which impacts their
daily lives, including the services of law enforcement.

LAW ENFORCEMENT INTERACTIONS WITH PERSONS WITH AUTISS

Based on the growing population of autistic persons and the legal
protections and encouragement by modern society, including the State of
Louisiana, to enable persons with disabilities, including those with autism, to
participate fully in the social and economic life of the state, to achieve maximum
personal independence and to fully enjoy and use all public facilities available in
the state, it is reasonable and foreseeable that there have been and will continue
to be encounters between members of the JPSO and persons with autism. This
includes those on the severe end of the spectrum who may be experiencing a
sensory overload or “outburst”. These encounters can take place in a variety of
circumstances and scenarios. It is also reasonable and foreseeable that these
persons, and their caregivers on their behalf, would need to avail themselves of
services from the JPSO. It is also reasonable and foreseeable that, in the course of
these encounters, deputies may need to physically restrain persons who have
ASD, including those who are undergoing the crisis of a sensory outburst caused
by and related to autism.

The need for law enforcement agencies to have reasonable and adequate
policies and training to deal with encounters with persons with autism, including
those on the severe end of the spectrum, as part of their duty to protect public
safety and the safety of their officers, is obvious and has been known to law

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enforcement leaders and agencies for decades. It is also well-known that the
failure to have appropriate policies, practices and training creates a significant
risk that such encounters, if not properly handled, could have catastrophic results,
including death or serious bodily harm.

There are a number of reliable sources from which law enforcement
agencies can readily access reasonable and appropriate policy guidance and
training materials regarding law enforcement encounters with persons with
autism. Numerous law enforcement and first responder agencies have recognized
this obvious need and have adopted sound policies and training regarding the safe
manner to handle these interactions, which includes:

1. “Be aware that people with autism may have underdeveloped trunk
muscles and may not be able to support their airway. After takedown, t he
individual should be turned on his or her side and be transferred into an
upright position as soon as possible to allow normal breathing to occur.”
Training Key # 678, International Association of Chiefs of Police (ACP), ©
2013.

2. “Monitor the person’s condition frequently to prevent further trauma
or injury. Up to 40% of this population may have some form of seizure
disorder.” Training Key, #678, ILACP, © 2013.

3. “Realize the person may not understand the futility of resistance and

continue an intense struggle. When the person is contained after

restraint, continue the use of calming and non-threatening words and body
language, de-escalation techniques, sensory scene management and simple
words.” Training Key #678, LACP, © 2013.

A, “When possible, avoid using body weight to restrain the individual.
When unavoidable, extreme caution should be exercised.” Model Policy:
Interactions with Individuals with Intellectualand Developmental
Disabilities. Updated August 2017. [ACP.

5. “Avoid using body weight to restrain a person with I/DD whenever
possible. If unavoidable, extreme caution should be exercised. For

people with certain types of disabilities, body weight restraints can be
dangerous or harmful...for those with other types of I/DD, such as

ASD, being subjected to a body weight restraint can be physically
excruciating, as the person may experience physical stimuli much

more intensely than individuals without I/DD.” Interactions with
Individuals with Intellectual and Developmental Disabilities. Concepts
and Issues Paper, [ACP Law Enforcement Policy Center, Updated:
August, 2017. .
6. “If you must restrain a person with autism, consider the following
tips to maintain safety for both yourself and the person being arrested:
Avoid positional asphyxia. People with autism may have a difficult time
supporting their airways during restraint due to underdeveloped

chest muscles. Officers should turn the person on their side to ensure
normal breathing.” Law Enforcement Guide to Interacting with People with
Autism, Illinois Attorney General, June, 2019.

7. “Physical restraint should be used only after all other interventions
have been tried and have failed. Restraint should never be the first

reaction when a person with autism escalates.... Extreme caremust b e
taken whenever restraining a person with autism. Never place a

person with autism on his or her stomach. Persons with autism frequently
have underdeveloped trunk, abdomen, and shoulder muscles or
hypotonia. Placing them on their stomach may compromise their
diaphragm, causing breathing difficulties. This action may lead to further
struggle, often misinterpreted as attempts to get free, when actually the
person is struggling to breathe. Many persons with autism also have
seizure disorders or other common medical conditions such as asthma.
Restraining a person during a seizure or asthmatic attack can cause injury
or death.” Autism, Advocates, and Law Enforcement Professionals,
Recognizing and Reducing Risk Situations for People with Autism
Spectrum Disorders, Dennis Debbaudt, Jessica Kingsley Publishers,
London and Philadelphia, 2002, p. 27.

8. “Support and constantly monitor breathing. Because they (subjects
who may have an intellectual or developmental disorder, including

autism) are often hypotonic, they often have difficulty breathing under
stress. Also, their chest muscles may be weak and have difficulty
supporting even their own weight, in some positions. Position your
handcuffed subject on their side in the lateral recumbent (low-level

fetal) position, meaning slightly bent at the waist and knees. Ifitis _ safe,
sit them up. Consider transporting them in the lateral recumbent

position in an ambulance. Every cop knows about positional asphyxia.
Consider all your subjects with developmental disabilities to be at risk.

The ‘Autism tsunami’, Joel Lashley, Police 1, July 7, 2008. Also see

“Autism Spectrum Disorders, A Special Needs Subject Response Guide f o r
Police Officers, Joel Lashley, Children’s Hospital and Health

System, (c) 2009.

9. “Avoid Manual Restraining: In prone position-Hypotonia and
underdeveloped muscles may lead to hypoxia, trouble breathing. By
crossing arms in front or behind patient-May restrict diaphragm
movement in those with hypotonia, leading to respiratory compromise.

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Never use “hard” force to restrain person (such as putting your knee t o
their chest or using your body to hold the person down.)” Autism
Preparedness for Emergency Medical Services Professionals, Dean R.
Kelble, Jr., Autism Preparedness for EMS Professionals, Revised 11/09
(emphasis in original).

10. Never restrain a patient in a prone position, “hog-tie” the patient or
use hobble restraints, as cases of sudden death have been reported.
(Stratton, Rogers, Green, 1995 and Kupas & Wydro, 2002).” The ABC’s

of Autism, Dean R. Kelble, Jr., EMT-P, Autism EMS: Autism
Preparedness for EMS, © 2009.

11. “The segment on restraint and arrests highlights risks associated
with physical control. People with autism typically lack the understanding
that continued struggling may require officers to use a higher level of
force to restrain them. Lights and sirens can create too much sensory
input, causing even greater problems with communication and
control. Approximately 40 percent of people with autism have seizures,
which stress can trigger. Additionally, they may have underdeveloped trunk
muscles making them unable to support their airways, which creates
a high potential for positional asphyxia.” FBI Law Enforcement B ulletin,
March, 2005, Video Reviews of Autism and Law Enforcement, produced by
Dennis Debbaudt and directed by Dave Legacy.

12. “Persons with autism should never have their arms crossed in front
of them or be held from behind. This may, once again, compromise the
diaphragm in those with hypotonia. A more effective method is to have
people on both sides holding the upper arm and wrist areas. Once a

person with autism is down on the floor he or she should be released and
geographical containment should be used. Geographical containment 1s
the preferred method of contro! for a person with autism, a safe space
should be provided for the person to calm him/herself through
movement, rocking, packing, finger-flicking, hand-flapping, etc. Restraint
may only serve to escalate apparently aggressive behaviors.” Autism,
Advocates, and Law Enforcement Professionals, Recognizing and Reducing
Risk Situations for People with Autism Spectrum Disorders, Dennis
Debbaudt, Jessica Kingsley Publishers, London and Philadelphia, 2002, p.
27.

Through my research, experience and training, I have developed Autism

Communication Cards which provide officers with important information and
necessary accommodations when dealing with persons with autism. These cards
are free to the public and I have provided more them to more than 200,000 of
these cards law enforcement officers and agencies. The card can also be

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downloaded onto an officer’s cell phone.

This is information is also available on

my website — https://autismriskmanagement.com. This card reads as follows:

Autism
COMMUNICATION

ORS

The person you are interacting with:

* May be non verbal or have limited verbal skills
* May not respond to your commands or

questions

* May repeat your words & phrases; your body
language and emotional reactions
* May have difficulty expressing needs

BEHAVIOR

* May display tantrums or extreme distress for

no apparent reason

* May laugh, giggle or ignore your presence
¢ May be extremely sensitive to lights, sounds or

touch

¢ May display a lack of eye contact

° May have no fear of real danger

e May appear insensitive to pain

* May exhibit self-stimulating behavior: hand
flapping, body rocking or attachment to objects

IN CRIMINAL JUSTICE SITUATIONS

* May not understand rights or warnings
* May become anxious in new situations
« May not understand consequences of their

actions

° If verbal, may produce false confession or

misleading statement

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As with Alzheimers patients, persons with autism may wander. Persons with autism may be attracted
to water sources, roadways, or peer into and enter dwellings.

TIPS FOR INTERACTIONS WITH PERSONS WITH AUTISM

Display calming body language; give person extra personal space

Use simple language

Speak slowly, repeat and rephrase questions

Use concrete terms and ideas; avoid slang
Allow extra time for response ee
Give praise and encouragement DEBBAUDT ILEGACY
Exercise caution during restraint

Person may have seizure disorders and low muscle tone

Avoid positional asphyxia. Keep airway clear. Turn person on side often.

Given time and space, person may deescalate their behavior

Seek advice from others on the scene who know the person with autism

If in custody, alert jail authorities. Consider initial isolation facility. Person would be at risk
in general prison population. REMEMBER: Each individual with autism is unique and may
act or react differently. PLEASE contact a professional who is familiar with autism.

Further Info: debbaudtlegacy.com ©Debbaudt/Legacy Productions, 2005

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JPSO POLICIES AND TRAINING

To my knowledge, at the time of the encounter between JPSO and E
P _the JPSO did not have any written policies governing interactions with
persons with autism or any training of deputies.* During their encounter with E
P on January 19, 2020, the JPSO deputies should have been trained on the
information described above, including the risks involved, and the use of
appropriate tactics and accommodations. It is my opinion that had the JPSO
deputies been properly trained and applied that training properly, E:’ P.
would not have been restrained in the prone position for over 9 minutes and would
not have been exposed to the risks of asphyxia and death.

In formulating my opinion, I have relied upon certain written discovery
responses from the Defendants dealing with autism and ADA compliance:

1. Plaintiffs’ Interrogatory No. 18 and Defendants’ responses:

Sheriff Lopinto and the individual deputies provided the following response
to Interrogatory No. 18:

Interrogatory No. .18: Identify all accommodations, if any, you contend you
providedtoE P.: to accommodate his disability.

ANSWER: Assuming this interrogatory pertains to accommodations under

4 See footnote |
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the Americans with Disabilities Act, no accommodations were requested nor
provided during the incident as described in the policy report produced in
connection herewith.

It is my understanding that the Plaintiffs filed a Motion to Compel against
Sheriff Lopinto pertaining to this particular response and the Court ruled as
follows:

Sheriff Lopinto’s answer is ambiguous and not directly responsive to the
question. The response implies that, since facts did not implicate a need for a n
accommodation, none was provided. Sheriff Lopinto is therefore directed to
supplement this response to make clear that he does not contend that he
provided any accommodation in this matter. (DE 79, p. 19).

In supplementation of his discovery response to Interrogatory No. 18,
Sheriff Lopinto noted:

ANSWER: The factual backdrop for the incident sued upon did not
implicate a need for an accommodation. Therefore, an accommodation was not
provided.

2. Deposition of JPSO Sgt. Michael Voltolino:

JPSO Sgt. Michael Voltolino was produced as the corporate representative
of Sheriff Lopinto and the JPSO regarding their policies, practices, processes and
training regarding interactions with persons with disabilities, including autism.
(Voltolino, p. 18).

Sgt. Voltolino testified that the JPSO does not have any policies or
procedures that deal with compliance with the Americans with Disabilities Act or
dealing with persons with Intellectual Disabilities, including autism. (p. 29-30).
Therefore, any guidance provided by the JPSO to its deputies would have to have
come through training. (30-31). Sgt. Voltolino was questioned about the JPSO
training provided to deputies on compliance with the ADA and dealing with
persons with Intellectual Disabilities, including autism.

Sgt. Voltolino was questioned about a 21-page PowerPoint entitled Autism
Awareness — Exhibit 43. (p.30-42). When there were questions as to whether this
document was the most recent or updated draft of the training block on Autism
Awareness, Set. Voltolino testified as follows: 1) He began working on the Autism
Awareness PowerPoint in 2018 (p. 42); 2) while working on this PowerPoint, he
solicited input from his peers and has updated the PowerPoint (p.43-44); 3) Sgt.
Voltolino has submitted this PowerPoint for supervisory approval for use in
training (p.44); 4) At the time of his deposition on August 1, 2022, Set. Voltolino

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was still waiting for approval from his supervisor to utilize this PowerPoint
during training (p.44-45); 5) the training set forth in the Autism Awareness
PowerPoint and none of the updates to this PowerPoint have been provided to
deputies at the JPSO (p34-35, 39).

Sgt. Voltolino noted that he began working on the Autism Awareness
PowerPoint in 2018 “because of the need for it in law enforcement.” Sgt. Voltolino
testified that there was an awareness at that time that law enforcement would be
interacting with persons with autism “and that created special needs and
situations for officers to be trained on.” (p.46).

With respect to CIT training, CIT officers are trained by the JPSO utilizing
PowerPoints — 1) Substance Abuse and Mental Illness; 2) Louisiana Mental
Health Law and Patrol; 3) Crisis Intervention Training and 4) Deescalation with
Suicidal Patients. (Voltolino, p.53, Exhibits p. 44-47). None of these training
materials address persons with autism or intellectual disabilities. Sgt. Voltolino
also noted that some outside vendors provide training to CIT officers including a
training course he believed was entitled “Deescalation and Autism,” which was
provided by himself and Chantrel Hunt from the Jefferson Parish Coroner's
Officer. (p.48). Sgt. Voltolino does not have a copy of this alleged training
material. (p.54-55). I have been advised that this information has been
subpoenaed by the Plaintiffs from the Jefferson Parish Coroner's Office (JPCO)
but has not been produced. Sgt. Voltolino testified that this training is specific to
CIT deputies and deals with the signs and symptoms of autism but does not deal
with restraining autistic persons. (p.62).5

3. Deposition of Sheriff Lopinto:

Sheriff Lopinto was produced as the representative the Sheriff in his official
capacity/JPSO to testify on whether the JPSO deputies provided EP any
accommodations during this incident. Sheriff Lopinto confirmed that no
accommodations were provided. (Corp. Rep. Dep, p.21).

Sheriff Lopinto also testified at his deposition of January 10, 2023, that he
was unaware that the ADA required that a public agency have an assigned ADA
coordinator. (p. 160-61). He then testified that the ADA coordinator was
“probably” him. (p. 161). Sheriff Lopinto was aware that other law enforcement
agencies have specific policies on intellectual disabilities, including autism. (p.
116). Sheriff Lopinto did not believe that law enforcement departments need to
have separate policies dealing with IDD or autism. (p. 118). Sheriff Lopinto was
questioned concerning the training that was prepared by Sgt. Voltolino, but not

5 it is my understanding that CIT is a special course for designated deputies and not all JPSO deputies are CIT
trained. ,

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provided to his deputies, IACP Training Key # 678 and even a copy of my Autism
Communication Card, and appeared to deny that this type of training is needed or
required. (p. 118-130). This approach is contrary to my 30 plus years of
experience and the available police and public literature regarding interactions
with persons with intellectual disabilities, including autism, and exposes the ever-
increasing, disabled public to unreasonable risks of death or serious injury.

AUTISM TRAINING COSTS FOR JPSO

At the request of Mr. Clarke, I prepared a proposal and a quote for what
would be a reasonable, complete and comprehensive autism training program for
the JPSO, including dispatchers, deputies, supervisors and command staff over a
period of two years. This would also include training for instructors that can be
utilized by the JPSO to provide autism training on an ongoing basis in the future.
This proposed training outline is attached as Exhibit A.

IN SUMMARY

1. E° P was a 16-year-old severely autistic child who appears to
be obese.

2. On January 19, 2020, Ei P: had gone to a Laser Tag with his
parents as part of their normal! routine. After they left the Laser Tag and while
they were in the parking lot, E.  P began to experience a sudden sensory
outburst or “meltdown” caused by his severe autism. EP, who was non-verbal,
began slapping at himself and his father and grabbing his father as part of his
meltdown. The physical encounter lasted about 5 minutes and during the incident
EP bit his father, who was bleeding from his chin.

3. As a result of this event, JPSO deputies were called to the scene to
assist. Once Deputy Pitfield arrived, he was advised by Mr. Parsa that E:  P:
was autistic. (Cell Phone Video of Events). Other deputies arrived on the scene
and observed and/or were generally advised that Ei P. had autism and/or
was special needs. They could see that he was obese. They were also aware that
he was essentially non-verbal. As acknowledged by the written discovery
responses, the deputies on the scene who were advised that Ey P; was
autistic failed to utilize this information to provide any reasonable
accommodations toE  P, due to his disability as set forth herein. Instead,
the deputies held EP: in the prone position for over 9 minutes which
contributed to his death according to the Jefferson Parish Coroner's Office.

4. It is well-known and documented in law enforcement and first
responder’s literature that subjecting autistic persons to prone, pressurized
restraint poses significant risk of asphyxia. Non-verbal, severely autistic persons

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are unable to understand or comprehend even the simplest commands which may
be interpreted as resistance or intentional disobedience. The continued, prone
restraint of severely autistic children, especially those who are obese and non-
verbal, is known to law enforcement to pose a significant risk of catastrophic
outcomes. Proper policies, training and supervision is essential in order to
prevent such outcomes. °

5. Based on the known growing population of autistic persons, it is both
foreseeable and predictable that there will be encounters between members of the
JPSO and persons with severe autism experiencing a sensory overload or
“outburst” and that-these persons would need to avail themselves of services of the
JPSO. On January 20, 2019, any reasonable, competent law enforcement
executive knew or should have known that deputies may need to physically
restrain persons who have ASD, including those who are undergoing the crisis of a
sensory outburst caused by and related to autism. In addition, on January 20,
2019, any reasonable, competent law enforcement executive knew or should have
that there was an obvious need to ensure that appropriate policies, practices and
training were in place in order to prevent catastrophic results during law
enforcement encounters with persons with autism who are experiencing crisis
caused by and related to autism. The knowledge of the dangers which can arise
from interactions between law enforcement and persons with autism has been
known in the law enforcement community for decades. Further, Sgt. Voltolino, as
corporate representative for Sheriff Lopinto and the JPSO, testified that he began
working on Autism Awareness PowerPoint in 2018 “because of the need for it in
law enforcement” and that there was an awareness that law enforcement would be
interacting with persons with autism which “created special needs and situations
for officers to be trained on.” (p. 46). However, this training was never approved

and appropriate and reasonable policies and training were not implemented by
JPSO.

6. Based on my review of the deposition of Sgt. Voltolino, the JPSO does
not have any particular policies covering the ADA or dealing with persons with
intellectual and developmental disabilities, such as autism. Further, I have
reviewed the training provided to CIT officers set forth in the PowerPoint
produced. None of these training materials address dealing with persons
suffering from intellectual disabilities or developmental, such as autism. While
Sgt. Voltolino testified concerning a course on de-escalation and autism provided
by himself in conjunction with the JPCO, training materials from that class have
not been produced to evaluate.

7. Based on my review of the training materials, discovery responses,
videos of the deputies’ actions on the scene and other information and documents

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referenced in this report, it is my opinion that Sheriff Lopinto and the JPSO did
not have proper policies or training in effect regarding law enforcement
encounters with persons with autism at the time of the death of Es ?: while
in the custody of JPSO deputies. It is further my opinion that JPSO deputies did
not have proper training or guidance from appropriate policies on how to deal with
persons suffering from autism, including the significant risks of utilizifg prone
restraint on such persons, especially if they are obese and non-verbal, and failed to
make any reasonable and necessary accommodations for E: Ps s disability,
contrary to nationally recognized standards for law enforcement encounters with

persons suffering from autism. . - Wh) but
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Dennis Debbaudt

Dated: 2 -4H- AS

Debbaudt expert report. Draft 02 Feb 2023-ACC

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DEBBAUDTILEGACY

Debbaudt Legacy Productions, LLC
2338 SE Holland Street
Port Saint Lucie FL 34952

January 23, 2023

Sheriff Joseph P. Lopinto, Ill

Jefferson Parish Sheriff's Office (JPSO)

1233 Westbank Expressway

Harvey, LA 70058

RE: Proposal to JPSO for training and policy review. (per request)

Subject matter: Autism Recognition, Response & Risk Management for Law Enforcement

Trainers: Dennis Debbaudt and selected subject matter experts (SMEs).

Type of training: Direct and Train-the Trainer

Attendees:
1. JPSO Sheriff and Command Staff. (4 hours) (Direct training)
2. All JPSO sworn employees of all rank and service description, including jail
personnel and Emergency Operations Center (911) teleeommunicators. (4 hours)
(Direct training)
3. JPSO Trainers (Train the Trainers) (40 hours) (4 of those hours is attendance ata
Direct training session).

Subject matter materials: Training print and audiovisual subject matter materials will be provided
by Dennis Debbaudt and selected subject matter experts (SME).

Goals:

1. To train and assist JPSO in adopting best practices and model policies in encounters
and interactions between JPSO and individuals with autism in a variety of situations
in which the department may become involved.

To further enhance and advance the mission of JPSO to keep Jefferson Parish a sate
place to live, work and raise a family and the vision of JPSO to be a model law

enforcement agency, accountable to maintain the public trust.

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Time-line: Training could commence in 30 days, beginning with command staff and proceeding
from there. Estimated completion of training of all JPSO sworn personnel, policy review
and consultations: Two (2) years.
Proposal includes the following:

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Licensing and further production of Debbaudt Legacy Productions, LLC's (DLP)
instructional videos.

Licensing of selected Dennis Debbaudt print subject matter including lesson plans,
goals and objectives, learning outcomes, test modules, handouts and tip cards.

Training session with Sheriff and JPSO command staff (4 hours) (Debbaudt and
selected SME).

Train all JPSO sworn employees of all rank and service description, including jail
personnel and Emergency Operations Center (911) telecommunicators. (4 hours)
(Debbaudt and selected SME).

Train-the-trainer instruction of approved sworn and civilian instructors (Up to forty
(40) hours) (Debbaudt and selected SME).

Production of a baseline Powerpoint, Keynote or other presentation software
application, review and use of text slides from the provided model, review of
recommended open source video clips and photo images, a review of each section of
the audiovisual and print material and instructor questions. A summary of the subject
matter along with the lesson plan may be submitted for issuance of educational
credits.

Review and recommendations re JPSO relevant policies.

Instructor and trainer interactions, discussions and extended Q & A regarding any
relevant issue are encouraged throughout the training courses.

The licensed videos and subject matter print reports are for the sole use of JPSO’s instructor(s)
and may not be copied, given away, sold, placed on the world wide internet or broadcast without
further written permission from Debbaudt Legacy Productions, LLC.

DLP Instructional videos included for this quote:

Autism & Law Enforcement Roll Call Briefing

Autism Spectrum Disorder, Missing Persons, Search & Rescue
Autism & Suspicious Persons

Autistic Driver: Traffic Stop

Autism & Wandering: Escape From Campus

Autism & Victim Interview (contains sexually graphic language)
Autism in the Criminal Justice System
as

Autism, Fire-Rescue & Emergency Medical Services

Reasonable JPSO special editing requests from the DLP library will be honored throughout the
consultancy period. Editing requests may include development of public service announcements
and brief audiovisuals for JPSO web and social media sites. DLP will provide technical support
for all audiovisual products as needed.

Instructor (Train the trainer) session includes:

Preparation for instruction of Autism Recognition, Response & Risk Management training for
Law Enforcement & Public Safety professionals for four hour presentation will include a
thorough review of each 50 minute section of the four hour block, review of recommended text
slides, review of open source video, a review of “need to know” autism technical terminology
and review of materials that 911 dispatcher/telecommunicators “need to know” and review of a
model two-hour autism victim, witness and suspect interview are included.

Open source and Debbaudt Legacy Productions (DLP) video materials (relevant print,
audiovisual, open source and produced scenario videos) that may be embedded in existing (or
potential) JPSO training curriculum including suspicious person calls, narcotics/drug impaired or
intoxicated individuals, use of force, traffic stops-reasonable suspicion to search, Crisis
Intervention Training (CIT) crisis calls, police-mental health field response. Debbaudt will
further recommend SME materials for shorter blocks of instruction: roll call 5 to 15 minutes, 1, 2

and 3 hour blocks, and 911 dispatcher training block.

Policy review includes:

A review and discussion of recommended policy decisions that are supported by SME advice
will include:

© Review and assistance with development of JPSO written policies consistent with
national best practices and model policies for law enforcement encounters with persons
with autism.

+ Empowerment by command level supervisors of frontline personnel to invest all necessary
time into autism related interactions

* Creation of a voluntary vulnerable persons program (VVPP) that provides personal information
(actionable intelligence) within the emergency call center and accessible by frontline deputies
prior to arrival at scene.

* Creation of fusion tech (communications technology) that provides proximity disclosure of
child or adult’s ASD diagnosis, additional communication and personalized strategies to
manage environment and behavior and technology that can track a missing, vulnerable autistic

child or adult in real time and alert frontline deputies and other responders through artificial
intelligence (AI) keywords to the presence of autistic individuals in a location in the vicinity.

* Creation of an autism unit within JPSO that will seek out partnerships in public safety with
ASD parents and independent adults on the autism spectrum. educators, therapists,
advocates—The Autism Community. This unit may also explore direct, controlled, safe
interactions between police officers and autistic individuals, the consideration of employment
with JPSO or through vendors of autistic individuals and other programs that serve to integrate
into the community individuals and families affected by ASD. This unit will participate in
development of a training video including scenario and public service announcements

Training Services & Materials Fee Quote:

Total Fee for Training Services, Policy Review and Licensing estimated at: $48.000.00
Travel and accommodations expenses while travelling are not included in this estimate.
Appropriate training venue(s) will be provided by JPSO.

Audio Visual (A/V) Needs: projector, screen and speakers to support computer based multimedia
presentation. A/V will be provided by JPSO.

DBT will be available for consultation and discussion via remote telecommunications with JPSO
personnel throughout this two-year period at no additional cost. Any additional
presentations/discussions/conferences other than those described above, which involve travel,
will be at additional cost.

Contact Person for quote and subject matter content:

Dennis Debbaudt

Debbaudt Legacy Productions, LLC
2338 SE Holland Street

Port Saint Lucie FL 34952

Phone: 772-398-9756

Email: ddpi@flash.net

For further information about Dennis Debbaubt and Debbaudt Legacy Productions, LLC:

https://autismriskmanagement.com/

Thank You!
